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IN THE UNI'I`ED STATES DISTRICT COURT
FOR THE EASTERN DIS'I`RICT OF VlRGINIA
Alexandria Division

TRUSTEES OF Tl-IE PLUMBERS AND )
PIPEFITTERS NATIONAL PENSION )
FUND, )
)

Plaintiffs, )

)

v. ) Civil Action No. l:lS-cv-670 (AJT/JFA)

)

PERFORMANCE AIR CONDITIONING )
INC., )
)

Defendant. )

)

 

ORDER

This matter is before the Court on the Proposed Findings of Fact and Recommendations
[Doc. 13] of the Magistrate Judge recommending that Plaintiffs’ Motion for Default Judgment
[Doc. 9] be granted, and that a default judgment be entered in favor of Plaintiffs on Count I of
the complaint in the total amount of $2,865.16, consisting of $253.29 for liquidated damages,
interest in the amount of 5160.58, costs of $566.29, and attorney’s fees of $l ,885.00. The
Magistrate Judge advised the parties that objections to the Proposed Findings of Fact and
Recommendations must be filed within fourteen days of service and that failure to object waives
appellate review. No objections have been filed. Having conducted a de novo review of the
record, the Court adopts and incorporates the findings and recommendations of the Magistrate

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Judge. Accordingly, it is hereby /

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ORDERED that the Proposed Findings of Fact and Recommendations [Doc. 13] be, and

the same hereby is, ADOPTED; and it is further

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ORDERED that Plaintii`l`s’ Motion for Defau|t .iudgment [Doc. l)] bc. and the same
hereby is, GRAN’I`ED; and it is further

ORDIF.RED that JUDGMENT be entered in favor of Plainlil`i`s and against Dei`endanl in
the amount 01`$2.865. l 6, consisting ol`$253.29 for liquidated damages interest in the amount ol`
5160.58. costs oi"$566.29._ and altorney’s fees ol`$l.SSS.(l{}.

'I`he Clerk is directed to forward copies ofthis Order to all counsel oi`record.

 

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Anthony.l. left
United Sta ‘S strict Judgc

Alexandria._ Virginia j
Novernber 13` 2018

